                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
Plaintiffs Fund Texas Choice, The North          §
Texas Equal Access Fund, The Lilith Fund         §
for Reproductive Equity, Frontera Fund,          §
The Afiya Center, West Fund, Jane’s Due          §
Process, Clinic Access Support Network, and
                                          ,      §
Dr. Ghazaleh Moayedi, DO, MPH, FACOG,            §
                                                 §
       Plaintiffs,                               §
vs.                                              §          CASE NO. 1:22-cv-00859-RP
                                                 §
KEN PAXTON, in his Official Capacity as          §
Attorney General; et al.,                        §
                                                 §
       Defendants.                               §
                                                 §

       PLAINTIFFS FUND TEXAS CHOICE AND DR. MOAYEDI’S MOTION TO
         APPEAR VIRTUALLY AT PRELIMINARY INJUNCTION HEARING


       Plaintiffs Fund Texas Choice and Dr. Ghazaleh Moayedi, DO, MPH, FACOG file this

Motion to Appear Virtually at Preliminary Injunction Hearing and respectfully state as follows:

       1.      The Court has set a Preliminary Injunction Hearing in this matter for September 27,

2022 in Courtroom 4 of the United States Courthouse in Austin, Texas. [Dkt. 24]. The Court

ordered that “[a]ll parties and counsel must appear at this hearing.” Id.

       2.      Plaintiff Fund Texas Choice’s Executive Director, Anna Rupani, is scheduled for

surgery on September 28, 2022 and is medically unable to travel from Dallas, where she resides,

to Austin, Texas on September 27 for the hearing. She can, however, appear for the entirety of the

hearing via remote/virtual means.

       3.      Plaintiff Dr. Ghazaleh Moayedi, DO, MPH, FACOG is scheduled to deliver a series

of lectures in San Francisco, CA on September 26 and 27, 2022. Dr. Moayedi has ceased providing

abortion-related medical services in Texas because of Texas’ newly implemented abortion bans,
and her medical practice’s income has suffered consequently. Thus, Dr. Moayedi needs to fulfill

her obligations as a paid lecturer to support her family financially. Dr. Moayedi will be available

on September 27, except between 11am and 12:30pm CST and after 6:30pm CST, to appear for

the hearing and testify if needed.

       4.      Pursuant to Rule 43(a) and (c), if Ms. Rupani and/or Dr. Moayedi need to testify in

the hearing, they have shown above (Paragraphs 2 and 3) good cause in compelling circumstances

to do so by contemporaneous transmission from a different location. F ED.R.CIV.P. 43(a),(c).

       WHEREFORE, Plaintiffs respectfully move this Court to allow Anna Rupani (on behalf

of Plaintiff Texas Fund Choice) and Plaintiff Dr. Ghazaleh Moayedi, DO, MPH, FACOG to appear

and testify (if the Court deems appropriate) via virtual/remote means at the September 27, 2022

Preliminary Injunction Hearing.



Dated: September 15, 2022                        Respectfully submitted,

                                                     s/ Jennifer R. Ecklund
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      Counsel for Plaintiffs




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                             CERTIFICATE OF CONFERENCE

       I conferred by email on September 14 and again on September 15, 2022 with the DA
Defendants and County Attorney Defendants, and they do not oppose the relief sought herein. I
twice emailed counsel for Defendant Attorney General regarding this motion but received no
response, and therefore assume he opposes.

                                                  s/ Elizabeth G. Myers
                                                  Elizabeth G. Myers



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2022, a copy of the foregoing was filed electronically
with the Clerk of Court using the CM/ECF system.

                                                  s/ Jennifer R. Ecklund
                                                  Jennifer R. Ecklund




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